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No. 25-8013

Atlas Data Privacy Corp. et al. vs. First Direct, Inc. et al.

ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:

First Direct, Inc.

Indicate the party’s role IN THIS COURT (check only one):

v Petitioner(s) Appellant(s) Intervenor(s)

Respondent(s) Appellee(s) Amicus Curiae

Andrew W. Sheppard
ivi] Mr. [| Ms. [| Mrs. [|_| Miss [|_| Mx.

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SIGNATURE OF COUNSEL: §/ Andrew W. Sheppard

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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney

Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
